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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

LYNN CRANOR

      Plaintiff,

v.                                                Case No.8:16-cv-00341-JSM-TBM

CREDIT ONE BANK, N.A., A
Business Entity of Unknown form
Doing business in Florida and Does
1 through 20, inclusive,

      Defendants.
                                              /

                       NOTICE OF PENDING SETTLEMENT

      Defendant, Credit One Bank, N.A. (Credit One) by and through undersigned

counsel, hereby submits this Notice of Pending Settlement and states the parties have

reached a settlement with regard to this case and are presently drafting, finalizing, and

executing the formal settlement documents. Upon full execution of the same, the parties

will file the appropriate dismissal documents with the Court.

Dated: February 15, 2017


                                         Respectfully submitted,

                                         /s/ Rachel A. Morris
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                                          Attorneys for Defendant,
                                          Credit One Bank, N.A.


                             CERTIFICATE OF SERVICE

       I certify that on this 15th day of February 2017, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system or U.S. First Class Mail including

plaintiff’s counsel as described below. Parties may access this filing through the Court’s

system.

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                                          /s/ Rachel A. Morris
                                          Attorney




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